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                                UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF TEXAS
                                       TYLER DIVISION

  State of Texas, et al.,

          Plaintiffs,
                                                              CASE NO. 6:24-CV-306-JCB
  v.

  United States Department of Homeland
  Security, et al.,

          Defendants.


                                JOINT NOTICE OF STIPULATIONS

       Plaintiff States and the Federal Defendants (the “Parties”) adopt the following

stipulations:


       Stipulation No. 1: Subject to Stipulation No. 2, Plaintiffs stipulate that they will only

seek to establish Article III injury based on alleged injuries to Texas and that they will not submit

any evidence as to injury for any other State Plaintiff. Plaintiffs further stipulate that they will

only seek to establish irreparable injury for purposes of any equitable relief based on alleged

harm to Texas and that they will not submit any evidence as to irreparable harm for any other

State Plaintiff. Subject to the limitations above, this stipulation does not prejudice the right of

any Party to argue the proper scope of any relief or whether Article III standing is satisfied

in this case. Federal Defendants stipulate that their discovery requests (currently propounded
and future) are limited to Texas.

       Stipulation No. 2: The Parties stipulate that Plaintiffs may not attempt to introduce

new evidence of injury or irreparable harm to any State other than Texas absent new

reciprocal discovery regarding injuries or harm to any such State for purposes of standing or

scope of relief. This applies to any attempt by Plaintiffs to introduce such new evidence at any

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stage of this case, including after any remand should Plaintiffs prevail in district court but that

decision is reversed by a higher court.

Dated: August 29, 2024                        Respectfully submitted,

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                                        CERTIFICATE OF SERVICE

       I hereby certify that on August 29, 2024, I electronically filed this joint notice with the

Clerk of the Court for the United States District Court for the Eastern District of Texas by using

the CM/ECF system. Counsel in the case are registered CM/ECF users and service will be

accomplished by the CM/ECF system.

                                                    /s/ Erin T. Ryan
                                                    ERIN T. RYAN
                                                    U.S. Department of Justice




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